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                            UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   12   BLACKBERRY LIMITED, a                Case No. CV 18-1844-GW-KSx
        Canadian corporation,
   13                                        FINAL JUDGMENT
                         Plaintiffs,
   14
   15             v.

   16   FACEBOOK, INC., a Delaware
        corporation, WHATSAPP INC., a
   17   Delaware corporation, and
        INSTAGRAM, LLC, a Delaware
   18   limited liability company,
   19
                         Defendants.
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                                                          Case No. 2:18-cv-01844-GW-KS
                                                        [PROPOSED] FINAL JUDGMENT
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    1          The Court, having read and considered the Joint Stipulation and Request to
    2 Enter Final Judgment Pursuant to Federal Rule of Civil Procedure 54(b) as to Claims
    3 Regarding U.S. Patent Nos. 8,296,351 and 8,676,929 between Plaintiff BlackBerry
    4 Limited (“BlackBerry”) and Defendants Facebook, Inc., WhatsApp Inc., and
    5 Instagram, LLC (collectively, “Defendants”), and for good cause appearing,
    6 HEREBY ORDERS, ADJUDGES, and DECREES that:
    7          1.    The Court’s prior orders have adjudicated the invalidity of U.S. Patent
    8 Nos. 8,296,351 and 8,676,929. There is no just reason for delay of an appeal on these
    9 issues, and Final Judgment on these issues is appropriate pursuant to Fed. R. Civ. P.
   10 54(b);
   11          2.    Final judgment is hereby entered in Defendants’ favor on BlackBerry’s
   12 claims related to U.S. Patent Nos. 8,296,351 (Count VIII) and 8,676,929 (Count IX);
   13          3.    Defendants’ counterclaims seeking declaratory judgment of non-
   14 infringement and invalidity in relation to U.S. Patent Nos. 8,269,351 (Counts 15 and
   15 16) and 8,676,929 (Counts 17 and 18) (First Cause of Action) are dismissed, without
   16 prejudice, as moot;
   17          4.    The entry of final judgment herein shall not affect the remaining claims
   18 and counterclaims between the parties and the current case schedule (Dkt. 480)
   19 remains effective;
   20          5.    Any request for reimbursement of fees and costs with regard to the issues
   21 on which final judgment is entered shall be addressed after final judgment is entered
   22 with respect to the remaining claims and counterclaims between the parties.
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   25 Dated: November 26, 2019                 _________________________________
                                               HONORABLE GEORGE H. WU
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                                               UNITED STATES DISTRICT JUDGE
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                                                                 Case No. 2:18-cv-01844-GW-KS
                                                               [PROPOSED] FINAL JUDGMENT
